                Case 19-12198-amc                      Doc       Filed 06/17/24 Entered 06/17/24 12:04:04                                    Desc Main
                                                                 Document      Page 1 of 3
     Fill in this information to identify the case:
     Debtor1                 Jennifer Santiago

     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the : EASTERN District of Pennsylvania
                                                               (State)
     Case number 19-12198-amc


Form 4100R
Response to Notice of Final Cure                                                                    10/15
___________________________________________________________________________________________________________
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.

 Part 1:             Mortgage Information


     Name of creditor: Legacy Mortgage Asset Trust 2021-GS1                                                                           Court claim no. (if known): 7-2
     Last 4 digits of any number you use to identify the debtor’s account:          9498

     Property address:              3311N LAWRENCE ST
                                    Number            Street

                                    PHILADELPHIA, PA 19140
                                    City                               State          ZIP Code
 Part 2:             Prepetition Default Payments

 Check one:

     [X]         Creditor agrees that the debtor(s) have paid in full amount required to cure the prepetition default on the creditor’s
                 claim

     [ ]         Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default on the
                 creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date of this response is:
                                                                                                                                                $___________
 .


 Part 3:             Postpetition Mortgage

 Check one:

     [X]         Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of the
                 Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

                 The next postpetition payment from the debtor(s) is due on:                  7/1/2024
                                                                                              MM/DD/YYYY

     [ ]         Creditor states that the debtors are not current on all postpetition payments consistent with § 1322 (b)(5) of the
                 Bankruptcy Code, including all fees charges expenses, escrow, and costs.

                 Creditor asserts that the total amount remaining unpaid as of the date of this response is:
                 a. Total postpetition ongoing payments due:                                                                                     (a) $_________
                 b. Total fees, charges, expenses, escrow and costs outstanding:                                                                + (b) $_________
                 c. Total. Add lines a and b.
                                                                                                                                                 (c) $_________
                 Creditor asserts that the debtor(s) are contractually
                 obligated for the postpetition payment(s) that first became
                 due on:
                                                                                              MM/ DD/ YYYY




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                   Case 19-12198-amc                              Doc   Filed 06/17/24 Entered 06/17/24 12:04:04                   Desc Main
Debtor 1       Jennifer Santiago                                        Document Case Page 2 of
                                                                                        number      3
                                                                                               (if known) 19-12198-amc
               First Name         Middle Name             Last Name




Part 4:      Itemized Payment History


If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in
Part 3 that the debtor(s) are not current with all postpetition payments, including all fees, charges
expenses, escrow, and costs, the creditor must attach an itemized payment history disclosing the
following amounts from the date of the bankruptcy filing through the date of this response:

[X] all payments received;
[X] all fees, costs, escrow, and expenses assessed to the mortgage; and
[X] all amounts the creditor contends remain unpaid


Part 5:      Sign Here


The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
proof of claim

Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this response is true and correct
to the best of my knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different
from the notice address listed on the proof of claim to which this response applies.

               X      /s/ Michelle L. McGowan                                                       Date 6/17/2024
                      Signature



 Print
                      Michelle L. McGowan                                                           Title Authorized Agent
                      First Name                         Middle Name        Last Name


 Company              Robertson, Anschutz, Schneid, Crane & Partners, PLLC

If different from the notice address listed on the proof of claim to which this response applies:


                      13010 Morris Rd., Suite 450
 Address
                      Number                    Street

                       Alpharetta, GA 30004
                      City                                State               ZIP Code


 Contact              470-321-7112                                                                                 Email mimcgowan@raslg.com




Form 4100R                                                Response to Notice of Final Cure Payment                                        page 2
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                                CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on __________________________
                                       June 17, 2024            I electronically filed
the foregoing with the Clerk of Court using the CM/ECF system, and a true and correct copy has
been served via United States Mail to the following:

Jennifer Santiago
3311 N Lawrence Street
Philadelphia, PA 19140


And via electronic mail to:

MICHAEL A. CIBIK
Cibik Law, P.C.
1500 Walnut Street
Suite 900
Philadelphia, PA 19102

SCOTT F. WATERMAN [Chapter 13]
Chapter 13 Trustee
2901 St. Lawrence Ave.
Suite 100
Reading, PA 19606

United States Trustee
Office of the U.S. Trustee
Robert N.C. Nix Federal Building
Suite 320
Philadelphia, PA 19107



                                                  By: /s/ Justine Bennett
                                                  Justine Bennett
                                                  Email: Jusbennett@raslg.com




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